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IN THE UNITED STATES DISTRICT COURT

 

FOR THE EASTERN DISTRICT OF VIRGI IA in OPEN COURT

 

Alexandria Division

 

 

 

 

 

MAR 3 | 2021
UNITED STATES OF AMERICA _ ) he
(EP
Vv. ) No. 1:19-cr-59 TS
)
DANIEL E. HALE, ) Hon. Liam O’Grady
)
Defendant. )
STATEMENT OF FACTS

The Defendant, Daniel Everette Hale, agrees that at trial, the parties would
have proven the following facts beyond a reasonable doubt with admissible and
credible evidence:

1. From in or about February 28, 2014, and continuing to on or about
December 17, 2015, in the Eastern District of Virginia and elsewhere, Mr. Hale,
having unauthorized possession of documents relating to the national defense
willfully: (a) retained the documents and failed to deliver them to the officer or
employee of the United States entitled to receive them; and (b) communicated,
delivered or transmitted the documents to a person not entitled to receive them.
Specifically, Mr. Hale retained Documents A, B, C, D, E, F, G, I, J, K and M (as those
documents are identified in the Superseding Indictment (ECF No. 12)), and
communicated them to the person identified in the Superseding Indictment as the
Reporter.

2, In July 2009, while the United States was actively engaged in two wars,

Mr. Hale, then 21 years old, enlisted in the United States Air Force. From July 2009
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until in or about July 2013, Mr. Hale served in the United States Air Force, where he
received language and intelligence training and was awarded a Top Secret/Sensitive
Compartmented Information (““TS/SCI”) security clearance. From March 2012 to
August 2012, Mr. Hale deployed to Bagram Airfield in Afghanistan, working as an
intelligence analyst in support of a Department of Defense Joint Special Operations
Task Force supporting drone and prisoner operations.

3. From December 2013 until August 2014, Mr. Hale was employed by a
defense contractor. While working for the defense contractor, Mr. Hale was assigned
to the National Geospatial-Intelligence Agency (“NGA”) in Springfield, Virginia,
where he worked as a political geography analyst. Mr. Hale continued to hold a
TS/SCI security clearance while working at NGA.

4, In or around April to May, 2013, Mr. Hale met the person identified in
the Superseding Indictment as the Reporter.

5. Between February and May, 2014, Mr. Hale used his classified NGA
computer to print Documents A, B, C, D, E, F, G, I, J, K and M. Eight of these
documents were classified Secret, and three were classified Top Secret, and the
documents contain National Defense Information as that term is defined in the law.

6. After retaining the documents, Mr. Hale communicated them to the
Reporter, who published them between August 2014 and December 2015.

7. Mr. Hale was not authorized to possess, or have control over, or retain

or take the documents from NGA, and the Reporter was not entitled to receive them.

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8. At the times Mr. Hale retained the documents and communicated them
to the Reporter, he knew it was unlawful to do so.

9. Mr. Hale authored an essay, attributed to “Anonymous,” that became a
chapter in a book published by the Reporter's online news outlet (defined as Book 2
in the Superseding Indictment).

10. This statement of facts includes those facts necessary to support Mr.
Hale’s guilty plea. It does not include every fact known to either party, and it is not
intended to be a full enumeration of all the facts surrounding this case.

11. Mr. Hale’s actions, as recounted above, were in all respects knowing and

deliberate, and were not committed by mistake or accident.

DEFENDANT'S STIPULATION AND SIGNATURE

After consulting with my attorneys, I hereby stipulate that the above
Statement of Facts is true and accurate, and that had the matter proceeded to trial,

the parties would have proven the same beyond a reasonable doubt.

Date:, 2 a

  

 

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Ddniel Everette Hdfe~ V_s

Defendant
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DEFENSE COUNSEL'S SIGNATURE
We are the Defendant’s attorneys. We have carefully reviewed the above
Statement of Facts with him. To our knowledge, his decision to stipulate to these

facts is an informed and voluntary one.

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Todd M. Richman
Cadence A. Mertz
Assistant Federal Public Defenders
Attorneys for Daniel Everette Hale
